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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

 RO-MA HOLDINGS #2, LLC,

                  Plaintiff,                                   Case No.. 1:20-cv-20252
 vs.

 SCOTTSDALE INSURANCE COMPANY,

                  Defendant
                                                        /

                                JOINT INTERIM STATUS REPORT

         Plaintiff, RO-MA HOLDINGS #2, LLC, and Defendant, SCOTTSDALE INSURANCE

 COMPANY, through undersigned counsel, and pursuant to the Court’s Order Setting Trial and

 Pre-trial Schedule [D.E. 07], hereby file this Joint Interim Status Report and state as follows:

         1.       Have all the defendants been served? If not, state the reason.

                  Yes.

         2.       Have all Defendants responded to the complaint? If not, state the reason.

                  Yes.

         3.       If this is a class action, has a motion for class certification been filed? If so, what

 is its status?

                  Not applicable.

         4.       Have the parties agreed on and selected a mediator? Have the parties agreed upon

 a place, date and time for mediation?

                  The parties have agreed to use John Salmon. The parties are working
                  together to schedule the mediation in accordance with the Court’s
                  Scheduling Order.

         5.       Have the parties engaged in informal settlement negotiations? If so, explain the

 extent of the negotiations. If not, explain the reason(s) for the failure to do so.


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                The parties have discussed the case and a potential settlement, but both
                parties have decided to proceed with depositions and other discovery before
                presenting a demand or offer, as there are facts which require clarification
                for both parties.

        6.      Describe the status of discovery conducted to date, and identify whether the

 parties reasonably believe that they will be able to complete discovery by the Court’s deadline.

 If not, explain the reasons.

                Plaintiff has provided responses to Defendant’s initial Discovery requests.
                The deposition of SIC’s corporate representative is scheduled for May 19,
                2020. The depositions of Plaintiff’s corporate representative and Plaintiff’s
                loss consultant are scheduled for June 5, 2020.

        7.      Identify any other issues that the Court should be aware of that may affect the

 resolution of this matter or the schedule as currently set.

                Scheduling matters and completing various discovery requests, inspections
                and other matters may be delayed due to impacts from the COVID-19
                pandemic.


 Respectfully and joint submitted on May 18, 2020 by:


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